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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

W&O SUPPLY, INC.                  §
     Plaintiff                    §
                                  §
VS.                               §                                   CASE NO. 4:19-cv-00153
                                  §
BRANDON PITRE, TOBI JOHNSON,      §
WILLIAM TERRY, and WILLIAM FULLER §
     Defendants.                  §

      PLAINTIFF’S RESPONSE TO DEFENDANTS’ MOTION FOR SANCTIONS

       Plaintiff W&O Supply, Inc. (“Plaintiff” or “W&O”) files this Response to Defendants

Brandon Pitre (“Pitre”), Tobi Johnson (“Johnson”), William Terry (“Terry”), and William

Fuller’s (“Fuller”) (collectively “Defendants”) Motion for Sanctions [Doc. 40] as follows:

                                             I.
                                       INTRODUCTION

       1.      Defendants’ Motion for Sanctions, filed on the eve of the Court’s hearing on

Plaintiff’s Motion for Preliminary Injunction, is designed to do one thing: distract from the

ultimate fact that Defendants admittedly and clearly violated their covenants not to compete.

Sanctions against Plaintiff and Plaintiff’s counsel are unwarranted, as Plaintiff has complied with

the Court’s Orders, has been forthcoming with Defendants and the Court regarding its actions

and positions, and sought the Court’s input on a matter of genuine and reasonable dispute.

Further, Defendants’ conclusory assertion that they have been harmed has no factual basis and is

actually unsupported by the facts.

       2.      Defendants failed to confer with Plaintiff regarding its Motion, as required by

Southern District of Texas Local Rule 7.1 and this Court’s procedures. Defendants were aware

of these issues for more than two weeks prior to filing their motion for sanctions and never
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contended Plaintiff’s behavior was sanctionable even though they sought withdrawal of their

consent to the motion for protective order. As evidenced by the relief sought in Defendants’

motion, Defendants hope to avoid the Court’s injunction hearing by throwing accusations of

“unclean hands” at Plaintiff. Because Defendants’ accusations are not supported by the evidence

or Defendants’ own actions and pleadings, Defendants’ Motion should be denied in its entirety.

                                      II.
                        NATURE AND STAGE OF PROCEEDING

       3.     Defendants are former employees of Plaintiff.          Defendants resigned their

employment with Plaintiff to start a new company – which had been formed months earlier –

which competes directly with Plaintiff, in contravention of their Non Compete Agreements.

       4.     Plaintiff filed its Original Complaint and Request for Preliminary Injunction on

January 15, 2019, asserting a claim for breach of contract, an alternative plea for reformation,

and an application for preliminary injunction [Doc. 1]. On February 4, 2019, following a

telephonic hearing, the Court ordered expedited discovery to be completed by March 5, 2019,

and denied Plaintiff’s request for temporary injunction without prejudice pending same [Doc.

11]. On March 4, 2019, following completion of the discovery ordered by the Court, Plaintiff

renewed its Motion for Preliminary Injunction and Motion for Evidentiary Hearing [Doc. 35].

On March 5, 2019, the Court set a hearing on Plaintiff’s Motion for Preliminary Injunction for

March 13, 2019 [Doc. 38].

                                        III.
                                 STATEMENT OF ISSUES

       5.     Defendants seek sanctions against Plaintiff and Plaintiff’s counsel based solely on

the production of Defendants’ “Attorneys Eyes Only” documents to Plaintiff’s in-house counsel

of record for a short, two-week period of time prior to the Court’s Order clarifying this issue.



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The sanctions sought by Defendants are not supported by the evidence, and Plaintiff respectfully

asks the Court to deny Defendants’ motion in its entirety.

                                         IV.
                                   BACKGROUND FACTS

       6.      Pursuant to the Court’s February 4, 2019, Order, expedited discovery was

scheduled to take place through March 5, 2019. [Doc. 11]. The parties were required to

exchange document requests and deponent designations on or before February 11, 2019. Id. The

Order further required production of documents forty-eight (48) hours prior to the scheduled

depositions. Id. In accordance with the Order, on February 11, 2019, Plaintiff noticed the

depositions of Defendants Pitre and Terry, along with subpoenas duces tecum, for Wednesday,

February 20, 2019, at 9:00 a.m. Exhibit A. Based on same, Defendants’ documents should have

been produced no later than Monday, February 18, 2019, at 9:00 a.m.

       7.      Based on the Court’s Order, Defendants were aware as of February 4, 2019, that

document production relevant to their use of Plaintiff’s confidential information and violation of

their covenants not to compete (the basis of Plaintiff’s Original Complaint and Request for

Preliminary Injunction [Doc. 1] and Plaintiff’s Motion for Preliminary Injunction, Motion for

Evidentiary Hearing, and Motion for Expedited Discovery [Doc. 7]) would be required.

Defendants were aware as of February 11, 2019, of Plaintiff’s specific document requests.

Nevertheless, Defendants waited until February 17, 2019, less than 24 hours before their

production was due, to advise Plaintiff that they would require a protective order before

producing documents. Exhibit B. Faced with either delaying the discovery needed to protect

Plaintiff’s business and confidential information in a timely manner or working to remedy

Defendants’ self-created delay, Plaintiff provided Defendants with a proposed protective order.

Exhibit B.    Defendants created another delay on Monday, February 18, 2019, when they

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demanded a protective order with two designations, “Confidential” as well as “Attorneys’ Eyes

Only.” Exhibit B. Defendants did not complete their document production to Plaintiff until the

evening of February 18, 2019, and as such, violated the Court’s February 4, 2019, Order.

       8.     Despite Defendants’ violation of the Order, rather than involve the Court, Plaintiff

continued to work with Defendants on an Agreed Protective Order. To expedite Defendants’ late

production, Plaintiff’s counsel agreed to hold “Attorneys’ Eyes Only” documents within the firm

until the Agreed Protective Order was finalized. Exhibit C. The next day, on February 19,

2019, Plaintiff and Defendants finalized and submitted the Agreed Protective Order [Doc. 22] to

the Court for entry.    The Agreed Protective Order provided that materials designated as

“Attorneys’ Eyes Only” were limited to the Court, counsel of record for the parties, and expert

witnesses [Doc. 22 at ¶8].     The Agreed Protective Order further provided that it was “an

agreement between and among the Parties signing it” and “[b]y submission of this Order to the

Court, the Parties hereby agree that up until the time the Court enters the Order, each will be

voluntarily bound by the terms contained herein” [Doc. 22 at ¶20].

       9.     The same day – in fact, less than 5 minutes after the Agreed Protective Order was

filed – Mr. Magnus Rayos filed his notice of appearance with the Court [Doc. 23]. As counsel of

record for Plaintiff, according to the express terms of the Agreed Protective Order [Doc. 22]

agreed to by Defendants, Mr. Rayos was entitled to review Defendants’ “Attorneys’ Eyes Only”

document production. Following the parties’ agreement to the Agreed Protective Order and Mr.

Rayos’ notice of appearance, Mr. Rayos received a link to Defendants’ document production.

Exhibit D. Mr. Rayos did not receive Defendants’ document production until after the parties

agreed to the Agreed Protective Order and after he appeared as counsel of record.              Id.




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Furthermore, although Mr. Rayos downloaded Defendants’ “Attorneys’ Eyes Only” documents,

he did not actually review them. Id.

        10.      Defendants clearly understood that Mr. Rayos had been provided with their

production, including the Defendants’ “Attorneys’ Eyes Only” documents. A few hours after

Mr. Rayos appeared in the suit, at 9:02 pm, Defendants’ attorney demanded to know if

“Attorneys’ Eyes Only” documents had been produced to Mr. Rayos. Exhibit E. They followed

up again the next morning at 8:01 am. Exhibit E. Far from “concealing” such production from

Defendants, less than an hour later, Plaintiff’s counsel responded that Mr. Rayos was entitled to

review such documents since he was counsel of record. Exhibit E. Plaintiff also objected to

Defendants’ “Attorneys’ Eyes Only” designation, as allowed under the Agreed Protective

Order.1 Exhibit F. Defendants then objected to Mr. Rayos being provided with the “Attorneys’

Eyes Only” document production and moved to withdraw their consent to the motion for

protective order [Doc. 24]. Thus, it is undisputed that Defendants were on notice that Mr. Rayos

was in possession of “Attorneys’ Eyes Only” documents for over two weeks prior to filing their

motion for sanctions.

        11.       Consistent with Defendants’ notice, Defendants filed their Opposition and

Withdrawal of Joinder to the Joint Motion to Enter Agreed Protective Order (“Defendants’

Opposition”) on February 20, 2019 [Doc. 24], and Plaintiff responded to same, setting forth its

reasoning that the Agreed Protective Order should be enforced as written [Doc. 29]. Plaintiff in

no way concealed or misrepresented the operative facts to the Court: it plainly took the position

that Mr. Rayos was entitled to review the “Attorneys’ Eyes Only” documents and sought the

Court’s guidance on the parameters of handling confidential information.                        Id.   Further,

1
  The substantive issues regarding Defendants’ designation of materials as “Attorneys’ Eyes Only” are more fully
discussed in Plaintiff’s Objections to Defendants’ “Attorneys’ Eyes Only” Designation and Motion for Ruling,
which is being filed contemporaneously with this Motion.

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Defendants acknowledged in their Opposition that Mr. Rayos had been provided with the

documents [Doc. 24].

       12.    On March 5, 2019, the Court granted entry of the Amended Protective Order, but

ordered that the “Attorneys’ Eyes Only” documents not be disclosed to Plaintiff’s employees,

including in-house counsel [Docs. 36 and 37]. Based on the Court’s March 5, 2019, Order,

Plaintiff immediately directed Mr. Rayos to delete the “Attorneys’ Eyes Only” documents

previously provided to him under the Agreed Protective Order. Exhibit D. As the only in-house

counsel of record for Plaintiff, Mr. Rayos was the only in-house individual who received

Defendants’ document production.      Id.   Mr. Rayos maintained the confidentiality of such

documents, and destroyed the documents upon receiving the Court’s March 5, 2019, Order. Id.

Further, even during the time Mr. Rayos had possession of Defendants’ “Attorneys’ Eyes Only”

documents, he did not actually review them. Id. Finally, Mr. Rayos is not involved with the

sales operations of Plaintiff, and has no input or involvement with Plaintiff’s pricing, sales

quotes, or customer sales interactions. Id. Plaintiff likewise confirmed to Defendants that Mr.

Rayos had been the only person employed by Plaintiff or its affiliates in possession of

Defendants’ “Attorneys’ Eyes Only” documents pursuant to the Agreed Protective Order, and

that he had destroyed all copies. Exhibit G.

                                        V.
                              ARGUMENT & AUTHORITIES

       13.    Defendants’ Motions for Sanctions is unfounded, and a blatant attempt to “poison

the well” before the Court’s hearing on Plaintiff’s Motion for Preliminary Injunction, as

evidenced by the fact that Defendants failed to comply with their conference obligations

regarding the motion. As detailed above, Plaintiff complied with the Court’s Orders and the

Agreed Protective Order. Plaintiff was forthcoming with the Court and Defendants regarding

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Mr. Rayos and its position that Mr. Rayos was entitled to review Defendants’ “Attorneys’ Eyes

Only” production. The Court has already addressed this issue via its March 5, 2019, Orders

[Docs. 36 and 37].     The Court simply ruled differently than the position which Plaintiff

advanced. This is not grounds for sanctions; it is the judicial process. Plaintiff does not contest

the Court’s authority, either inherent or via the Rules of Civil Procedure, to impose sanctions.

Rather, sanctions are wholly unwarranted in this matter.

        A.     Defendants’ Motion should be denied or stricken because Defendants failed
               to confer with Plaintiff regarding their Motion for Sanctions.

        14.    Pursuant to the Southern District of Texas’ Local Rules, except for motions

brought under Rule 12(b), (c), (e) or (f) and 56 of the Federal Rules of Civil Procedure, opposed

motions shall “contain an averment that (1) The movant has conferred with the respondent and

(2) Counsel cannot agree about the disposition of the motion.” L.R. 7.1. Similarly, this Court’s

procedures provide that the Court follows the written motion practice outlined in the Local

Rules, and further that: “Every non-dispositive motion must contain a certificate of conference

and a proposed order granting the relief requested. Failure to comply may result in the party’s

pleading being denied or stricken.” Judge Kenneth M. Hoyt’s Court Procedures at VI(A) and

(D).

        15.    Defendants filed their Motion on March 8, 2019, following the Court’s setting of

a hearing on Plaintiff’s Motion for Preliminary Injunction. Defendants failed to confer with

Plaintiff regarding this Motion, as required by this District and this Court. If Defendants had

conferred with Plaintiff, they would have learned that Plaintiff has complied with the Court’s

Orders. Therefore, Plaintiff respectfully requests that Defendants’ motion be stricken or denied.




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        B.     Defendants’ Motion should be denied because Plaintiff complied with the
               Court’s discovery Orders.

        16.    Defendants’ Motion seeks sanctions for Plaintiff’s alleged violation of the Court’s

discovery Orders, pursuant to Rule 37(b) of the Federal Rules of Civil Procedure. However, the

facts and evidence establish that Plaintiff complied with the Court’s Orders. Therefore, there is

no basis for sanctions under Rule 37(b), and Defendants’ Motion should be denied.

        17.    The Court entered its first Order on February 4, 2019, providing for the terms of

expedited discovery, including depositions and document production, and the timing for those to

occur [Doc. 11]. Plaintiff complied with the Court’s February 4, 2019, Order; Defendants did

not.

        18.    Plaintiff provided documents to Mr. Rayos pursuant to the terms of the February

19, 2019, Agreed Protective Order. Following that, Defendants withdrew their consent to the

Agreed Protective Order. The Court entered its second Order on March 5, 2019, holding that the

“Attorneys’ Eyes Only” production should not be disclosed to Plaintiff’s or its affiliates’ in-

house counsel [Doc. 36]. Following receipt of the Court’s March 5, 2019, Order, Plaintiff

immediately advised Mr. Rayos to delete the “Attorneys’ Eyes Only” production he received

prior to the Court’s March 5, 2019, Order. Exhibit D. Mr. Rayos confirmed that he deleted the

documents and had not disseminated the documents to any other individual. Id. Plaintiff

confirmed this to Defendants as well. Exhibit G. As Plaintiff has complied with the Court’s

Orders, there is no basis to impose sanctions.

        C.     Defendants’ Motion should be denied because Plaintiff has not engaged in
               the purported misconduct, and Defendants’ allegations regarding same are
               contrary to its own actions and pleadings.

        19.    Defendants’ Motion includes various allegations about Plaintiff’s alleged

“misrepresentations” and “concealment,” yet Defendants cannot identify one.            Plaintiff’s

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production of documents to Mr. Rayos, subsequent to the filing of the Agreed Protective Order

and Mr. Rayos’ appearance as counsel of record, were in compliance with the Agreed Protective

Order. Further, Plaintiff’s production of documents to Mr. Rayos occurred prior to Plaintiff’s

withdrawal of consent to the Agreed Protective Order and prior to the Court’s March 5, 2019,

Order.    Rather than misrepresent or conceal, Plaintiff specifically and repeatedly advised

Defendants of its position that Mr. Rayos, as counsel of record, was entitled to view the

“Attorneys’ Eyes Only” documents under the terms of the Agreed Protective Order, and that it

had therefore complied with the Agreed Protective Order. Exhibit E.

         20.   As set forth in Defendants’ Opposition [Doc. 24], Defendants recognized that Mr.

Rayos had been provided with the disputed documents, and therefore moved forward with its

opposition. Defendants’ claim now that Plaintiff “misrepresented” providing Mr. Rayos with the

documents is contrary to their own briefing.         Likewise, Defendants’ claim that they were

prevented from seeking court protection for their documents by Plaintiff’s “concealment” is

baffling, since that is precisely what Defendants did in their Opposition [Doc. 24].

         21.   Moreover, immediately following the Court’s March 5, 2019, Order, Plaintiff

directed Mr. Rayos to delete the “Attorneys’ Eyes Only” documents he had been provided prior

to the Order, as well as confirmed to Defendants that such deletion had been completed, and that

no other employee of Plaintiff or Plaintiff’s affiliates was in possession of the documents.

Exhibit D, Exhibit G. Plaintiff did not conceal or misrepresent its actions, and Defendants

knew this, since their own actions and pleadings evidence an understanding consistent with

same. Therefore, Defendants’ Motion should be denied.




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       D.      Defendants’ Motion should be denied because Plaintiff has not been harmed.

       22.     Defendants have failed to show any harm, or even posit how they may have been

harmed, from the fact that Mr. Rayos’ had the “Attorneys’ Eyes Only” documents in his

possession for a short, two-week period of time. Defendants make only a conclusory statement

that “the damage to Defendants is likely irreparable.” Defendants’ assertion is unsupported by

the facts. Mr. Rayos is employed as in-house counsel for an indirect parent company of Plaintiff.

Exhibit D. He is not involved in the day-to-day operations of Plaintiff, has no involvement in

Plaintiff’s sales, price quotes, or customer interactions regarding sales. Id. In fact, Mr. Rayos

did not even review Defendants’ “Attorneys’ Eyes Only” documents, and is not aware of the

information contained in the documents.        Id.    Mr. Rayos did not disseminate Defendants’

“Attorneys’ Eyes Only” documents or the information contained within them to any other

person. Id. Mr. Rayos is not in a position where he could have made use of the documents or

information other than to provide legal assistance in this matter, and has not provided the

documents or information to any other person. Id.

       23.     Furthermore, as set forth more fully in Plaintiff’s Objections to Defendants’

Designation of “Attorneys’ Eyes Only” Documents, Defendants’ designation of documents as

“Attorneys’ Eyes Only” is overly broad. Defendants’ “Attorneys’ Eyes Only” documents are

primarily those that relate to price quotes or invoices, and Defendants claim it is the disclosure of

their “written pricing information” that has allegedly caused them harm. However, this is not the

type of information that should be considered “Attorneys’ Eyes Only.”             As evidenced by

Defendants’ production of some of Plaintiff’s own price quotes, it is not unusual for customers

to send a quote received from one vendor to another vendor in the hopes of obtaining a better




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price. Therefore, while the documents may be Confidential, they do not rise to the level of

information requiring “Attorneys’ Eyes Only” protection.

       24.     Because Defendants can show no harm from Mr. Rayos’ short possession of the

“Attorneys’ Eyes Only” documents, Defendants’ Motion should be denied. In actuality, Mr.

Rayos is not even aware of the information contained in Defendants’ “Attorneys’ Eyes Only”

documents, as he did not review them. Exhibit D. Mr. Rayos has provided a sworn Declaration

that he did not disseminate Defendants’ “Attorneys’ Eyes Only” documents or information to

any other person, and destroyed the documents following the Court’s March 5, 2019, Order. Id.

Moreover, Mr. Rayos is an officer of the Court. To the extent the Court believes it necessary, it

may ask Mr. Rayos to confirm these facts at the March 13, 2019, injunction hearing.

       E.      Defendants’ Motion should be denied because the parties’ disagreement
               regarding the parameters of the Agreed Protective Order, and Plaintiff’s
               counsel’s actions were reasonable.

       25.     Defendants’ request for personal sanctions on Plaintiff’s counsel pursuant to 28

U.S.C. §1927 is unwarranted and harassing.           Plaintiff and Defendants had a genuine

disagreement about the appropriate parameters for confidential information in this case.

Defendants’ contention that Plaintiff’s counsel “unreasonably and vexatiously” multiplied the

proceedings in this case by briefing a hotly contested issue is disingenuous, particularly in light

of the present Motion.     Defendants, as the party resisting discovery, bore the burden of

establishing the need for their requested restriction on “Attorneys’ Eyes Only” documents.

Plaintiff did not agree that Defendants’ had met their burden or that such a stringent restriction

was necessary, based on applicable case law. The parties presented their respective positions to

the Court, the Court ruled, and Plaintiff’s counsel ensured that Plaintiff complied with the




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Court’s Order. Nothing about this constitutes a multiplication of the proceedings, let alone in an

unreasonable or vexatious manner, and Defendants’ Motion should be denied.

                                          VI.
                                 CONCLUSION AND PRAYER

       26.     Defendants’ Motion for Sanctions is unfounded and harassing. Plaintiff and

Plaintiff’s counsel have complied with the Court’s discovery Orders, been forthcoming with

Defendants and the Court, and sought the Court’s guidance on a reasonable and hotly contested

discovery issue.     Furthermore, Defendants have not shown any harm resulting from the

temporary production of documents to Mr. Rayos, and the evidence establishes that Defendants

have not been harmed. The true aim of Defendants’ Motion is to divert attention from the facts

of their own misconduct on the eve of the Court’s injunction hearing.

       27.     For all of the foregoing reasons, Plaintiff respectfully requests that Defendants’

Motion for Sanctions be denied in its entirety, that the Court’s hearing on Plaintiff’s Request for

Preliminary Injunction proceed on March 13, 2019, as scheduled, and for such other relief at law

or equity to which Plaintiff shows it is entitled.

                                               Respectfully submitted,

                                               MARTIN, DISIERE, JEFFERSON & WISDOM, L.L.P.

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                                  CERTIFICATE OF SERVICE

      This is to certify that a true and correct copy of foregoing document has been forwarded
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